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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISI0N

    IN RE:                                       §
    JOSE ELIAS SIERRA, SR.                       §             CASE NUMBER: 15-70603
    NORMA ALICIA GONZALES                        §
                                                 §             CHAPTER 13
                                                 §


      SUPPLEMENTAL MEMORANDUM OF LAW SECTION REGARDING § 1322 (b) (2)

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW JOSE ELIAS SIERRA, SR., and NORMA ALICIA GONZALES, hereinafter

called Debtors, and file this Supplemental Memorandum of Law regarding § 1322 (b)(2) of the

United States Bankruptcy Code and states the following:

       1.      On October 30, 2015, Villa Donna Development Corp. accelerated its promissory

note which was in the original principal sum of $14,000.00. Debtors filed their Chapter 13

voluntary petition on November 29, 2015 to stop the foreclosure on an accelerated note. The

creditor’s claim is in the total amount of $14,220.65 and Debtors have filed a plan which would

pay the entire mortgage claim prorata over the duration of their five year chapter 13 plan. The

note matures on April 1, 2022 by its own terms. Debtors should complete their plan on November

29, 2020. Villa Donna Development Corporation, the mortgage lender, has not objected to the

plan and should be receiving mortgage payments by now. Failure to confirm Debtor’s plan is

prejudice to Villa Donna Development Corporation’s right to payment. Additionally, failure to pay

Villa Donna Development Corporation could trigger a Motion to Lift Stay against the Debtors.

       The terms of the promissory note are as follows:

Principal and interest are payable in monthly installments of TWO HUNDRED FIFTEEN AND
46/100THS DOLLARS ($215.46) EACH, applied first to interest and balance to principal, with the
first payment due on or before the 1st day of every month, beginning May 1, 2007, and
continuing consecutively until April 1, 2022 when the entire unpaid balance of principal and
interest shall become due and payable. Past due principal and interest shall bear interest at the
maximum nonusurious rate allowed by law in the state of Texas.

       The issue is whether the Debtors plan, which seeks to pay off the entire claim within the
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five year plan, violates Section 1322(b)(2) which prohibits modification of claims secured solely by

a debtor’s principal residence. It is Debtor’s contention that it does not for the following reasons:

            a. The note was accelerated prepetition

            b. The Debtors propose to pay 100% of the note

            c. The documents contain “bargained for rights” that allow the Debtor to pay the note

               prior to the note’s maturity

            d. The mortgage lender has not objected to Debtors’ plan

. A copy of the note and of the Notice of foreclosure are attached hereto.

       2.      Section 1322(b)(2) prohibits modification of claims secured solely by a debtor’s

principal residence. The rationale, as explained in numerous cases, is Congress’ intent of

encouraging the flow of capital into the home lending market by reducing the mortgagee’s

risk. LittonLoan Servicing, LP v. Beamon, N.D.N.Y. 2003, 298 B.R. 508. In re DeMaggio,

Bkrtcy.D.N.H. 994,175 B.R. 144.       Most cases involve attempts by Debtors to either extend

their payment terms or seek a declaration that Section 1322(b)(2) is not applicable to them.

For example, the argument is sometimes made that the deed of trust secures more that the

residence and is thus subject to modification. Examples would be escrow accounts and

fixtures on a house. These arguments have not been too successful.

       4.      It does not appear that there are any cases where the Debtor is prohibited from

paying the entire claim and in a lesser time than the maturity date of the note. Most cases

hold that modification is acceptable when the note is accelerated prepetition or when the last

payment of the note falls within the life of the plan, provided, the claim is paid within the life of

the plan. These are the facts with respect to the Debtors. As stated in In re Beulamae

Smith, “It is not an impermissible modification of the agreement (1) to allow the debtor to pay

the creditor according to the original terms of the agreement even though the creditor

accelerated payment the note pre-petition or (2) to allow the Debtor to pay the arrearage

through the plan” In re Beulamae Smith, 125 B.R. 240(Bkrtcy.W.D.Mo.1991). The original
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terms of the agreement allowed the Debtor to pay his note prior to the maturity date of the

note. Allowing the Debtor to pay on an accelerated debt through the plan has been called

de-acceleration by some courts but it is not a modification of the claim. “Where the court

allows de-acceleration and reinstatement of the original obligation in those cases, no

“modification” results. The same amount is due to the creditor both before and after the plan

is in effect”. In re Spader 66 B.R. 618, 621 (W.D.Mo. 1986). See In re Grubbs 730 F.2236

(5th Cir.1984). As further stated in In re Spader, “ ‘Modify’ means to change the amount of

the debt”. In re Spader 66 B.R. 618, 621 (W.D.Mo. 1986). The Debtors do not seek to

change the amount of the debt.

       5. The court should not substitute its own judgment for the “bargained for rights” that

are reflected for in the mortgage instruments. In In re Dandridge, a case in which there was a

“call” provision on the note, the court stated “Upon dismissal, discharge or the entry of an

order terminating the automatic stay with respect to PFC (the creditor), PFC will be free to

exercise the call provision on its Note”. In re Dandridge, 221 B.R. 41(Bkrtcy,W.D.Tenn.1998).

       It is a draconian ruling with respect to the Debtors. However the “call” provision was,

indeed, a part of the note. The point is that in In re Dandridge the court considered the

Provisions of the note and what the note stated. The note contained a “call” provision and

removing the provision by judicial action would indeed have been a modification prohibited by

Section 1322(b)(2). Similarly, in the case at bar, the Debtors executed a note which gives

them the right to pay the note in full prior to its maturity date. This is a right that was given to

Debtors by the mortgaged instruments and more particularly the Note.

       The landmark case regarding section 1322 (b)(2) is Nobleman v. American Sav. Bank,

508 U.S. 324, a Supreme Court case. While stating that the banks have rights that are

reflected in the relevant mortgage instruments and that these are rights protected from

modification by Section 1322(b)(2), it also stated that these were rights “bargained for by the

mortgagor and the mortgagee”. Similarly, as stated in In re Fountain, the antimodification
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provision of Chapter 13 is also to “protect the rights which are bargained for between

mortgagor and mortgagee, as reflected in relevant mortgage instruments enforceable under

state law. In re Fountain, Bkrtcy.D.N.H.1996, 197 B.R. 748. The note signed by Debtors

allowed them to pay the note “on or before” a certain date. Therefore these rights must be

protected and must not be modified by the court. The Debtor should be allowed to pay his

note prior to its maturity date as agreed to by the closing instruments. Indeed, not allowing a

Debtor to pay its note in a shorter time, when allowed in the mortgage documents, would be a

violation of Section 1322(b)(2).

       6. Finally, Debtors agree with the Chapter 13 Trustee Brief Supporting Confirmation

 that “failure” to object to confirmation is deemed acceptance of the plan. Perhaps Villa

Donna Development Corporation would prefer to be paid over a period of sixty (60) months

rather than period seventy-six (76) months.

                                           Respectfully submitted,

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                                              Attorney for Debtors
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                                 CERTIFICATE OF SERVICE

      This is to certify that on October 6, 2016, a true and correct copy of the above and

foregoing document was served on all the following:

Cindy Boudloche                                Mark Alan Twenhafel
Chapter 13 Trustee                             Walker & Twenhafel, L.L.P.
555 N Carancahua, Ste 600                      P.O. Drawer 3766
Corpus Christi, TX 78401-0823                  McAllen, TX 78502-3766

US Trustee                                     Jose Sierra, Sr.
606 N Carancahua                               Norma Alicia Gonzales
Corpus Christi, TX 78401                       310 Apollo Drive
                                               Donna, TX 78537




                                          /S/ Roberto A. Guerrero
                                          Roberto A. Guerrero
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